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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                       )       Civil Action No. 3:17-cv-00072
        Plaintiffs,                             )
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )
        Defendants.                             )       By:     Joel C. Hoppe
                                                )               United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ motion to strike as untimely filed Defendant

  Richard Spencer’s motion for summary judgment. Pls.’ Mot. to Strike, ECF No. 896; see Def.

  Spencer’s Mot. for Summ. J., ECF No. 895 (Oct. 19, 2020). Spencer, who is representing himself

  in this case, concedes that he filed the motion two months after the August 7, 2020 dispositive-

  motions deadline and did not seek the Court’s leave before doing so. Def. Spencer’s Resp. in

  Opp’n 1, 4, ECF No. 906. Nonetheless, he asks the Court to resolve his motion on the merits

  because, in his view, his “tardiness has not done serious or irreparable harm to the [litigation]

  process.” Id. at 2; see id. at 4. Plaintiffs oppose Spencer’s request. Pls.’ Reply Br., ECF No. 908.

         The original deadline to file dispositive motions in this case was April 24, 2019. See

  Pretrial Order, ECF No. 101; Order of June 15, 2018, ECF No. 329. In late November 2019, I

  granted the parties’ joint request that they have until August 7, 2020, to file motions for summary

  judgment. See Order of Nov. 27, 2019, ECF No. 597. In June 2020, I allowed Spencer’s attorney

  to withdraw his representation and gave Spencer permission to electronically file documents in

  this matter using CM/ECF while he was representing himself. Order of June 22, 2020, at 2, ECF

  No. 773. I also warned Spencer that “[u]nless and until new counsel enters an appearance on

  [his] behalf, he is solely responsible for conducing his defense in accordance with all rules, court




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  orders, and deadlines in this case” 1 and that neither the October 2020 “trial date nor any deadline

  [would] be continued” because Spencer’s attorney had withdrawn. Id. Spencer attended his

  deposition by Plaintiffs’ counsel on July 1, 2020, and he stayed “in regular contact” with them

  afterwards. Pls.’ Mot. to Strike 3. He did not file a motion for summary judgment, or seek an

  extension of time to do so, on or before August 7, 2020.

          The presiding District Judge held a status conference with the parties several weeks later.

  See generally Tr. of Sept. 14, 2020 Show Cause Hr’g & Status Conf., ECF No. 881. During a

  discussion about scheduling hearings on the timely filed motions for summary judgment, another

  pro se Defendant asked if the Court would grant a “continuance” so he could file a motion for

  summary judgment. Id. at 22. Spencer interjected that he, too, was “now in a position” to file a

  motion for summary judgment and asked if the Court would “give [them] a reasonable deadline”

  to do so. Id. at 22–23. Plaintiffs’ counsel objected. Id. The presiding District Judge responded

  that any party who “wish[ed] to make a motion to file a summary judgment late” should “take

  those [requests] up with” me, as pretrial scheduling matters were “still in [my] hands.” Id. at 23–

  24 (“[T]hose matters have been referred to Judge Hoppe, and you’ll take those up with Judge

  Hoppe. And if he allows it, then he’ll give you the time.”). He also canceled the October 2020

  trial and reset the matter for a four-week jury trial tentatively scheduled to begin on April 26,

  2021. See Order of Sept. 15, 2020, at 1, ECF No. 874.

          On September 15, 2020, I issued an order granting Plaintiffs’ motion to suspend the

  deadlines for submitting witness lists and other documents to be used in connection with trial.


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    This was not the first time I’d warned Spencer that he must comply with the court’s orders and deadlines
  even though he is “not an attorney by trade.” Tr. of Apr. 19, 2018 Disc. Hr’g 5–6, ECF No. 308. After
  Spencer missed a discovery deadline in April 2018, I explained that if he may miss a court-ordered
  deadline, then he needed to confer with Plaintiffs’ counsel and file a motion asking the Court to extend
  the deadline for good cause. Id. at 6. He could not “just not make a deadline.” Id. Spencer apologized,
  indicated that he understood, and “promise[d] to do better in the future.” Id.


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  See Order of Sept. 15, 2020, at 1. Knowing that Spencer had voiced interest in belatedly filing a

  dispositive motion, however, I made clear that the suspension did “not apply to deadlines that

  ha[d] already passed or to motions that [were] currently pending.” Id. Rather, I instructed that

  “[a]ny party seeking to extend an expired deadline shall, within fourteen (14) days of this Order,

  file a motion showing the party failed to act because of excusable neglect and there is good cause

  to extend the time previously allowed.” Id. (citing Agnew v. United Leasing Corp., 680 F. App’x

  149, 155 (4th Cir. 2017); Fed. R. Civ. P. 6(b)(1)(B)). The Clerk’s Office sent the Order to

  Spencer on the same date, and the docket does not indicate that he failed to receive it. See Mem.

  Op. & Order of Mar. 24, 2021, at 15 n.4, ECF No. 933.

         Spencer had until September 29, 2020, to ask the Court to extend any expired deadline.

  See Order of Sept. 15, 2020, at 1. He filed his motion for summary judgment, which spans 129

  pages with supporting exhibits, on October 19, 2020. Spencer did not acknowledge that his

  motion was late, let alone explain why he had missed the original deadline or try to present cause

  why the Court should extend the time previously allowed. After Plaintiffs moved to strike,

  Spencer apologized for the “tardy” filing and asked the Court to give Plaintiffs all “the time they

  require” to respond to his motion. Def. Spencer’s Resp. in Opp’n 2, 4. He also blamed his former

  attorney for not preparing a motion for summary judgment before the August 7, 2020 deadline,

  see id. at 2–3, and claimed that he “misapprehended” the presiding District Judge’s instructions

  that Spencer should “move for a new deadline” if he still wanted to file a motion for summary

  judgment, id. at 3. Plaintiffs responded that Spencer has not shown either excusable neglect for

  missing the original deadline or good cause why the Court should accept his dispositive motion

  filed without permission more than two months late. Pls.’ Reply Br. 2–6.




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         Spencer has known at least since June 20, 2020, that he had until August 7, 2020, to file

  his own motion for summary judgment. See Order of June 22, 2020, at 2. He understood that he

  must file a motion for extension of time, on or before August 7, if he felt like he needed more

  time to file that dispositive motion. See Tr. of Apr. 19, 2018 Disc. Hr’g 5–6. He could not “just

  not make [the] deadline.” Id. at 6. Spencer did not ask the Court to extend his deadline. Then,

  several weeks later, he mentioned to the presiding District Judge that he wanted to file a motion

  for summary judgment even though he knew that deadline had expired. The presiding District

  Judge clearly said Spencer should file a motion asking my permission to file out of time. Tr. of

  Sept. 14, 2020 Show Cause Hr’g & Status Conf. at 23–24. And, if I allowed the extension, then I

  would “give [Spencer] the times within which [he] must file any motion” for summary judgment.

  Id. at 2. On September 15, I gave all parties fourteen days to file motions to extend any expired

  deadline and explained that such an extension could be granted only “for good cause if the

  moving party can show that the delay was because of excusable neglect.” See Order of Sept. 15,

  2020, at 2 (quotation marks omitted); Agnew, 680 F. App’x at 155; Fed. R. Civ. P. 6(b)(1)(B).

         Spencer “did not avail himself of that off-ramp.” Order Finding Def. Elliott Kline in Civil

  Contempt 1, ECF No. 599. He chose to file his dispositive motion on his own terms, in flagrant

  violation of this Court’s orders and deadlines. Those orders “were more than mere suggestions,”

  and the Court will not tolerate Spencer’s failure to take “seriously the deadlines [it] imposed,”

  Willis v. Cleveland Cty., N.C., No. 1:18cv292, 2020 WL1061680, at *3 (W.D.N.C. Mar. 4,

  2020), to move the case forward. See generally Mem. Op. of Aug. 9, 2019, at 2–3, 29–32, ECF

  No. 539. Accordingly, Plaintiffs’ motion to strike, ECF No. 896, is GRANTED, and Defendant

  Richard Spencer’s motion for summary judgment, ECF No. 895, is STRICKEN from the docket

  as untimely filed. See Zornes v. Specialty Indus., Inc., No. 97-2337, 1998 WL 886997, at *1




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  (Dec. 21, 1998); Willis, 2020 WL 1061680, at *3; Battle v. Burwell, No. PWG-14-2250, 2017

  WL 1246344, at *2 (D. Md. Apr. 5, 2017).

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to the parties.

                                               ENTER: May
                                                        y 19, 2021



                                               Joel C. Hoppe
                                               United States Magistrate Judge




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